     Case 3:24-cv-01077-RSH-MMP             Document 58    Filed 10/02/24   PageID.619   Page 1
                                                  of 3



 1    AYNUR BAGHIRZADE
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 2    Laguna Beach, CA 92651
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 3    Email: contact@aynurlawyers.com
 4    AYNUR BAGHIRZADE, IN PRO SE
 5
 6
 7                          UNITED STATES DISTRICT COURT
 8                         SOUTHERN DISTRICT OF CALIFORNIA

 9
                                                      Case No.: 3:24-CV-01077-RSH-MMP
10    AYNUR BAGHIRZADE,
                                                      JOINT MOTION AND
11                                  Plaintiff,        STIPULATION FOR
                                                      CONTINUANCE OF DEFENDANTS
12            v.                                      ARMENIAN NATIONAL
                                                      COMMITTEE OF AMERICA,
      ARMENIAN NATIONAL                               ARAM HAMPARIAN AND
13
      COMMITTEE OF AMERICA, et al.,                   ARMENIAN NATIONAL
14                                                    COMMITTEE OF AMERICA
                                                      WESTERN REGION’S NOTICED
15                                                    MOTION HEARING DATE
                                                      SCHEDULED FOR OCTOBER 24,
                                                      2024
16
17
18
                                                      Date: 10/24/2024
19
                                                      Place: 3B-3rd Floor (Rm# 3142)
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21
                                                      Presiding Judge: Hon. Robert Huie
22                                                    Magistrate Judge : Hon. Michelle M.
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      Joint Motion and Stipulation for Continuance             Case No.: 3:24-CV-01077-RSH-MMP
     Case 3:24-cv-01077-RSH-MMP             Document 58     Filed 10/02/24   PageID.620   Page 2
                                                  of 3



 1           Pursuant to Local Rule Rules 7.1. and 7.2., Plaintiff Aynur Baghirzade
 2    (“Plaintiff”) and Defendants Armenian National Committee of America
 3    (“ANCA”), Aram Hamparian and Armenian National Committee of America
 4    Western Region (“ANCAWR”), by and through their counsel of record, hereby
 5    stipulate and jointly present this motion for continuance of the hearing date of the
 6    noticed motion of the Defendants ANCA, Aram Hamparian and ANCAWR
 7    scheduled before this Court on October 24, 2024 as set forth below:
 8           WHEREAS, Defendants ANCA, Aram Hamparian, ANCAWR by and
 9    through their counsel of record filed two motions - Motion to dismiss for failure to

10    state a claim (Docket No. 50) and Special Motion to Strike (Docket # 51) - both set

11    to be heard on October 24, 2024;
             WHEREAS, Plaintiff AYNUR BAGHIRZADE has to file her opposition 14
12
      days before the hearing date of the motions in accordance with Local Rule 7.1;
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             WHEREAS, Plaintiff requests continuance of the motions’ hearing date for
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      14 days (to be heard on November 4, 20024 or any other available date thereafter)
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      to research and file her opposition;
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             WHEREAS, Defendants agree to Plaintiff’s request.
17
             Accordingly, the parties jointly stipulate to continuance of the hearing date
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      for the Defendants’ motions till November 4, 2024 or any other date available on
19    the Court’s calendar.
20
21
22                                                        Respectfully submitted,
23
24    Dated: September 30, 2024                           Plaintiff, Aynur Baghirzade

25                                                        By: /s/ Aynur Baghirzade
26                                                        Aynur Baghirzade
                                                          Email: contact@aynurlawyers.com
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      Joint Motion and Stipulation for Continuance              Case No.: 3:24-CV-01077-RSH-MMP
     Case 3:24-cv-01077-RSH-MMP             Document 58     Filed 10/02/24   PageID.621    Page 3
                                                  of 3



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 2
 3    Dated: September 30, 2024                           Schwartz Semerdjian Cauley Schena
                                                          & Bush LLP
 4
 5                                                        By: /s/ Dick A. Semirdjian
 6                                                        Dick A. Semirdjian
 7                                                        Email:das@sscelaw.com

 8
 9
      Dated: September 30, 2024                           Schwartz Semerdjian Cauley Schena
10                                                        & Bush LLP
11
12                                                        By: /s/ Chad M. Thurston
13                                                        Chad M. Thurston

14                                                        Email:chad@sscelaw.com

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      Joint Motion and Stipulation for Continuance               Case No.: 3:24-CV-01077-RSH-MMP
